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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

IN RE:                                             )       Chapter 7
                                                   )       Case No. 18-06409
STANDARD STATIONERY SUPPLY CO.                     )
                                                   )       Honorable Jack B. Schmetterer
                                                   )
                                                   )       Hearing Date: Thursday,
                                                   )       June 7, 2018
        Debtor.                                    )       10:00 a.m.

                                   NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Thursday, June 7, 2018, at 10:00 a.m., or as soon
thereafter as counsel may be heard, we shall appear before the Honorable Jack B. Schmetterer
Room 682, United States Courthouse, 219 South Dearborn Street, Chicago, Illinois, or any other
Judge sitting in his place or stead, and then and there present Trustee’s Motion to Sell Certain
Assets of Estate Free and Clear, a copy of which is hereby served upon you, at which time and
place you may appear as you see fit.


Dated: May 18, 2018                                        PHILIP V. MARTINO, Trustee



                                                           By: /s/ Philip V. Martino
                                                                  One of his attorneys

Philip V. Martino
Travis J. Eliason
QUARLES & BRADY LLP
300 North LaSalle Street, Suite 4000
Chicago, Illinois 60654-3406
(312) 715-5000




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                                 CERTIFICATE OF SERVICE

        Travis J. Eliason, an attorney, certifies that on May 18, 2018, he caused the foregoing
Notice of Motion and related Trustee’s Motion to Sell Certain Assets of Estate Free and Clear
to be served by operation of the Court’s electronic filing system to all ECF recipients registered in
this case.

    •   Joel A. Schechter                     joelschechter@covad.net
    •   Patrick S Layng                       USTPRegion11.ES.ECF@usdoj.gov
    •   Lauren Newman                         lnewman@thompsoncoburn.com

The following parties were served by U.S. mail and electronic mail on May 18, 2018, as indicated
below:

VIA EMAIL

    •   Fried Brothers Office Supplies, LLC           fried000@hotmail.com
    •   Levy Friedman                                 levyfr17@gmail.com
    •   Joseph Kunstlinger                            joseph@lawkw.com

VIA U.S. MAIL

    3 M Company                          Acco USA                          Acme United Corp.
    2807 Paysphere                       P.O. Box 203415                   P.O. Box 347808
    Chicago, IL 60674-0028               Dallas, TX 75320-3415             Pittsburgh, PA 15250-0001

    Amax Products, Inc.                  American Paper Converters         Armada Art Inc.
    1575 South County Trail              P.O. Box 505                      20 Draper St.
    East Greenwich, RI 02818-1695        Neenah, WI 54957-0505             Brockton, MA 02302-3223

    Bic Corporation                      CIT Finance, LLC                  ChartPak Inc.
    P.O. Box 416552                      PO Box 593007                     1 River Road
    Boston, MA 02241-6552                San Antonio, TX 78259-0200        Leeds, MA 01053-9732

    David Wilson                         Debbie Orlando 2034 Liberty       Diversified Supply Inc.
    1125 Kingsport Drive                 Lane                              27 Robert Pitt Dr.
    Wheeling, IL 60090-4477              Gurnee, IL 60031-6305             Monsey, NY 10952-3332

    Dixon Ticonderoga Company 615        E-Z Folder Inc.                   Ernesto Benitez
    Crescent Executive Court             P.O. Box 284                      812 North River Road
    Suite 500                            Spokane, WA 99210-0284            #2D
    Lake Mary, FL 32746-5036                                               Mount Prospect, IL 60056-
                                                                           1968

    Euler Hermes North America           Fed Ex                            Fellowes
    Insurance Co                         P.O. Box 94515                    P.O. Box 98630
    800 Red Brook Blvd                   Palatine, IL 60094-4515           Chicago, IL 60693-8630
    Owings Mills, MD 21117-5173



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    Fiskars Brands Inc                  Fiskars, Inc.                    HOP Industries Corp
    Attn Kelly Peterson                 P.O. Box 802587                  P.O. Box 188
    7800 Discovery Drive                Chicago, IL 60680-2587           Lyndhurst, NJ 07071-0188
    Middleton, WI 53562-5501

    Herbert Ross                        Hop Industries Corp              James Schwobel
    1985 Bordeaux Court                 c/o RMS Bankruptcy               102 West Wayne Place
    Wheeling, IL 60090-6754             Recovery Services                Wheeling, IL 60090-4634
                                        P.O. Box 361345 Columbus,
                                        OH 43236-1345

    Zebra Pen                           Standard Stationery Supply Co.
    242 Raritan Center Pkwy             c/o David Wilson,
    Edison, NJ 08837-3610                     R/A and President
                                        2251 Foster Avenue
                                        Wheeling, Illinois 60090

Parties may access this filing through the Court’s system.


                                                             /s/ Philip V. Martino
                                                             Philip V. Martino



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Travis J. Eliason
QUARLES & BRADY LLP
300 North LaSalle Street, Suite 4000
Chicago, Illinois 60654-3406
(312) 715-5000




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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                                               )       Chapter 7
                                                     )       Case No. 18-06409
STANDARD STATIONERY SUPPLY CO.                       )
                                                     )       Honorable Jack B. Schmetterer
                                                     )
                                                     )       Hearing Date: Thursday,
                                                     )       June 7, 2018
        Debtor.                                      )       10:00 a.m.

                         TRUSTEE’S MOTION TO SELL CERTAIN
                          ASSETS OF ESTATE FREE AND CLEAR

        Philip V. Martino, as Trustee (“Trustee”) for the bankruptcy estate (“Estate”) of Standard

Stationery Supply Co. (“Debtor”), hereby requests entry of an order, in the form filed in

connection with this motion (the “Sale Order”), authorizing the sale in accordance with 11 U.S.C.

§ 363 of certain assets of the Estate free and clear of all liens, encumbrances, and claims. In

support, the Trustee states:

                                        JURISDICTION

        1.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334(a) and Internal

Operating Procedure 15(a) of the United States District Court for the Northern District of Illinois.

        2.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        4.      The bases for the relief requested herein are 11 U.S.C. §§ 105(a) and 363(b) and

Rules 2002 and 6004 of the Federal Rules of Bankruptcy Procedure.

                                        BACKGROUND

        5.      On March 6, 2018, Debtor filed a chapter 7 petition to initiate the above-captioned

bankruptcy case, and Philip V. Martino was subsequently appointed Trustee on or about March

19, 2018.


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           6.       The 341 meeting was held on April 11, 2018.

           7.       Debtor’s Schedule A/B reflects interests in certain inventory (the “Inventory”)

including, among other things, school supplies for resale. See Schedules A/B, Dkt. No. 11 at 2.

Debtor has provided Trustee with two detailed inventory listings--an 80 page PDF and a

searchable 1 3320 line spreadsheet--both of which have been made available to prospective

purchasers. Moreover, all parties were afforded an opportunity to physically inspect the Inventory

to confirm count and description.

           8.       The Inventory is currently being stored at 2251 Foster Avenue, Wheeling, Illinois

60090.

           9.       Trustee contacted eight of Debtor's competitors and suppliers to solicit offers to

purchase the Inventory. In addition, Debtor's secured lender, MB Financial Bank, N.A. ("MB"),

contacted several auctioneers to solicit purchase offers and projections regarding selling the

inventory under forced liquidation and orderly liquidation scenarios. Trustee, MB and Debtor

exchanged information regarding the offers and the overall sales process.

           10.      Trustee received four offers to purchase the Inventory. Below are the two best,

albeit for slightly different classes of assets, both of which are based primarily on the Inventory:

                    a.       On or about May 11, 2018, Trustee received an offer from Levy Friedman
                             (“Purchaser”) to purchase the Inventory, Debtor’s name and contacts, and
                             the domain name and programming for Bestschoolbuys.com 2 (the
                             “Purchase Offer”) for $231,000.00 (the “Purchase Price”).



1
    Neither the Estate nor Trustee makes any representation regarding the accuracy of the Inventory count or description.
2
  Debtors’ name, contacts, domain name and programming for Bestschoolbuys.com is referred to collectively herein
as the “Name Property”, and together with the Inventory is referred to herein as the “Property”. Trustee seeks
authorization to sell the Name Property to the extent the Estate has any interest in the Name Property. Additionally,
although not specifically mentioned in Purchaser’s bid, “Property” shall include all Debtors' Intellectual Property
such as copyrights, trademarks and designs, name rights, software, proprietary programs and designs, customer and
supplier lists, files and records, and business name(s) and phone number(s) to the extent that the Estate has any interest
in said items.


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                b.      On or about April 23, 2018, Trustee received an offer from Kenneth Fried
                        to purchase the Inventory, as well as Debtors shelving, office equipment,
                        computers (with software and programming), files and records, and
                        business name(s) and phone number(s) for $230,000.00.

        11.     Trustee believes that the Purchase Offer is appropriate, and that the Purchase Price

is a favorable consideration for the Property.

        12.     Trustee and Purchaser have engaged in arms-length negotiations regarding the

purchase of the Property. Trustee and Purchaser have agreed to sale terms, which are discussed in

detail below.

        13.     The Purchase Price is the highest and best offer Trustee has received for the

Property. Trustee is therefore satisfied, in the exercise of his sound business judgment, that the

consideration to be paid for the Property is fair and reasonable and that additional marketing would

not serve the interests of the Estate.

                                         RELIEF REQUESTED

        14.     By this Motion, Trustee requests that the Court enter a Sale Order authorizing him

to sell the Property to Purchaser.

        15.     The following summarizes the terms of the sale (“Sale”) of the Property:

        (a)     Purchase Price: The Purchase Price is $231,000.00.

        (b)     Purchaser’s Deposit: Purchaser has provided Trustee with a deposit of $10,000.00
                (“Purchase Deposit”), which Trustee will hold until the entry of the Sale Order by
                the Court. In the event there are no additional offers to purchase the Property at or
                before the hearing on this Motion or if Purchaser is the highest bidder at auction (as
                further described below), then (i) the Purchase Deposit shall be applied to the
                Purchase Price at closing, and (ii) if Purchaser fails to close the Sale within
                twenty-four (24) hours after the entry of the Sale Order by the Court, Trustee shall
                retain the Purchase Deposit as liquidated damages.

        (c)     Entry of Sale Order: The Trustee’s and Purchaser’s obligations to close on the Sale
                of the Property are subject to the entry of the Sale Order by the Court.

        (d)     Closing: The closing of the Sale of the Property will take place within twenty-four
                (24) hours after the entry of the Sale Order by the Court.


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        (e)       Waiver of Fed. R. Bankr. P. 6004(h): The Sale Order provides that, notwithstanding
                  Fed. R. Bankr. P. 6004(h), the Sale Order approving the Sale to Purchaser shall be
                  effective immediately.

        16.       Trustee believes that the Purchase Offer is reasonable under the facts and

circumstances of this case. Purchaser understands that the Trustee’s capacity to close the Sale is

conditioned upon there being no higher and better offer received at or before the Court’s hearing

upon this Motion. Purchaser is nevertheless prepared to go forward with the transaction as set forth

in this Motion.

                                     AUCTION/HIGHER BIDS

        17.       Any party interested in making a higher bid for the Inventory should appear at the

hearing on this Motion. In that event Trustee receives additional offers to purchase the Property

at or before the hearing, Trustee (or his counsel) will conduct an auction (“Auction”) generally in

accordance with the following bid procedures:

        (a)       Bidders: Any party wishing to participate the Auction will be required to (i) make
                  an opening bid of at least $240,000.00, and (ii) provide Trustee with a deposit of
                  $10,000.00 (“Bid Deposit”) by cashier's or certified check, or by wire transfer the
                  day before the hearing. Purchaser, who has acted as stalking horse bidder, will not
                  have to post a Bid Deposit unless he increases his bid. In that event, all bidders
                  will have posted the same Bid Deposit.

        (b)       If Purchaser Has Highest Bid: If Purchaser is the winning bidder at the Auction, the
                  Sale will close on the same terms and conditions set forth above, except that the
                  Purchase Price will be the Purchaser’s winning bid. Upon closing, any Bid Deposits
                  will be returned to the depositing party.

        (c)       If Another Party Has Highest Bid: If a party other than Purchaser is the winning
                  bidder at the Auction (“Winning Bidder”), the Sale to the Winning Bidder will
                  close on the same terms and conditions set forth herein, except that the Purchase
                  Price will be the Winning Bidder’s bid. Upon closing, the Bid Deposit will be
                  returned to Purchaser and any Bid Deposits will be returned to the depositing party,
                  except the Bid Deposit of the second highest bidder will be held as back up bidder
                  if the Winning Bidder defaults.

        (d)       Failure to Close: If Purchaser or the Winning Bidder fail to close the Sale within
                  twenty-four (24) hours after the entry of the Sale Order by the Court, Trustee shall
                  retain that party’s Purchase Deposit or Bid Deposit as liquidated damages and


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                Trustee may (but will not be required to) sell to the next highest bidder (if any)
                without further order of Court.

                                   APPLICABLE AUTHORITY

        18.     Bankruptcy Code § 363(b)(1) authorizes a trustee to “use, sell, or lease” property

of the estate with the Court’s approval. Assets of a debtor may be sold outside of the ordinary

course of business, pursuant to Bankruptcy Code § 363(b)(1), if a sound business purpose exists

for doing so.

        19.     Courts have held that approval of a proposed sale of property pursuant to

Bankruptcy Code § 363(b) is appropriate if the transaction represents the reasonable business

judgment of the trustee. See In re Schipper, 933 F.3d 513, 515 (7th Cir. 1991); In re Zeigler, 320

B.R. 362, 381 (Bankr. N.D. Ill. 2005); see also Comm. of Equity Sec. Holders v. Lionel Corp. (In

re Lionel Corp.), 722 F.2d 1063 (2d Cir. 1983).

        20.     If a valid business justification exists for the sale, as it does in this case, Trustee’s

decision to sell property outside of the ordinary course of business enjoys a strong presumption of

“good faith and . . . honest belief that the action taken was in the best interests of the company.”

In re Integrated Res., Inc., 147 B.R. 650, 656 (S.D.N.Y. 1992).

        21.     Courts typically consider the following factors in determining whether a proposed

sale satisfies this standard: (a) whether a sound business justification exists for the sale;

(b) whether adequate and reasonable notice of the sale was given to interested parties; (c) whether

the sale will produce a fair and reasonable price for the property; and (d) whether the parties have

acted in good faith. See, e.g., Schipper, 933 F.3d at 515; Zeigler, 320 B.R. at 381; In re Del. &

Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991); In re Phoenix Steel Corp., 82 B.R. 334, 335–

36 (D. Del. 1987). The proposed Sale satisfies all of these factors.




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        22.     First, a sound business purpose exists for the Sale. The Estate has no funds to store,

insure, secure, or market the Inventory. Selling the Property to Purchaser will allow Trustee to

make a distribution to creditors of the Estate.

        23.     Second, the Purchase Price—or the winning bid at the Auction—is a fair and

reasonable price for the Property. While Trustee did receive another offer to purchase the Inventory

and other property, the Purchase Price was the highest offer. Accordingly, Trustee has determined

that the Purchase Offer submitted by Purchaser is the highest and best offer received for the

Property.

        24.     Finally, the Notice will be appropriate, as provided below, and the terms of the Sale

were negotiated at arm’s-length and in good faith by Trustee and Purchaser. In light of the

foregoing, the Sale to Purchaser, or to a party submitting a higher or better bid for the Property at

the Auction, is warranted under Bankruptcy Code § 363.

        25.     Pursuant to Bankruptcy Code Section 363(f), Trustee's sale of the Inventory shall

be free and clear of all interests, as MB (which holds the only known lien therein) consents to the

sale and sales procedure.

        26.     Section 363(m) and 363(n): “[W]hen a bankruptcy court authorizes a sale of assets

pursuant to section 363(b)(1), it is required to make a finding with respect to the ‘good faith’ of

the purchaser.” In re Abbotts Dairies, Inc., 788 F.2d 143, 149–50 (3d Cir. 1986).

        27.     The purpose of such a finding is to facilitate a safe-harbor determination under

Bankruptcy Code § 363(m), which serves the important purposes of encouraging good faith

transactions and of preserving the finality of the bankruptcy court’s order unless stayed pending

appeal. Id. at 147. Courts have generally held that a good faith purchaser is one who buys “in good

faith” and “for value.” In re Ewell, 958 F.2d 276, 281 (9th Cir. 1992).




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        28.     The Trustee and Purchaser negotiated the terms of the Sale at arm’s length, in good

faith, and without collusion or other misconduct within the meaning of Bankruptcy Code

§§ 363(m) and (n). The Trustee is aware of no conduct that would cause the Sale to be avoided

under Bankruptcy Code § 363(n). Accordingly, the Estate and Purchaser are entitled to the

protections of Code §§ 363(m) and (n) with respect to the transaction contemplated herein.

        29.     To the extent the parties determine that consummation of the Sale requires

documentation beyond the Sale Order, or such documentation is deemed necessary or convenient

by the parties in order to consummate the Sale, the Trustee asks that the Court authorize him to

execute such documentation.

        30.     Relief from Bankruptcy Rules 6004(h): The Bankruptcy Rules provide in pertinent

part that “[a]n order authorizing the use, sale, or lease of property other than cash collateral is

stayed until the expiration of 14 days after entry of the order, unless the court orders otherwise.”

Fed. R. Bankr. P. 6004(h).

        31.     Because no entity except Debtor has an interest in the Property, Trustee believes

that there is no reason to delay the Sale to Purchaser, or a competing bidder, and asks that the

automatic stay provisions of Fed. R. Bankr. P. 6004(h) be waived and that the Sale Order be

effective immediately upon entry.

                                            NOTICE

        32.     This Motion has been filed electronically, and notice thereof will be provided

electronically on the date hereof, via the Court’s CM/ECF System, to (a) counsel for (i) the Debtor

and (ii) the United States Trustee and (b) entities, or their counsel, who have filed a notice of

appearance through the Court’s CM/ECF System. The Motion will also be served via electronic




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mail to Purchaser and Kenneth Fried, and the Motion will be served by U.S. Mail upon the Debtor

and all creditors of the Debtor’s estate.

        WHEREFORE, Trustee prays that an order be entered (a) approving sale of the Property

to Purchaser (or any third-party bidding more to purchase the Property prior to entry of an Order

granting this Motion) free and clear of all liens, encumbrances, and claims, (b) waiving the

provisions of Fed. R. Bankr. P. 6004(h), and (c) for such further relief as is reasonable and just.


                                                              PHILIP V. MARTINO, Trustee


                                                              By: /s/ Philip V. Martino
                                                                     One of his attorneys

Philip V. Martino
Travis J. Eliason
QUARLES & BRADY LLP
300 North LaSalle Street, Suite 4000
Chicago, Illinois 60654-3406
(312) 715-5000




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